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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 FAIR FIGHT ACTION, INC; CARE IN
 ACTION, INC; EBENEZER BAPTIST
 CHURCH OF ATLANTA, GEORGIA, INC.;
 BACONTON MISSIONARY BAPTIST
 CHURCH, INC; VIRGINIA-HIGHLAND
 CHURCH, INC.; and THE SIXTH
 EPISCOPAL DISTRICT, INC.,
      Plaintiffs,

       v.                                            Civil Action Number
                                                     1:18-cv-05391-SCJ
 BRAD RAFFENSPERGER, in his official
 capacity as Secretary of State of the State of     A CONFERENCE IS
 Georgia; EDWARD LINDSEY, SARAH                     SCHEDULED FOR
 TINDALL GHAZAL, MATTHEW                            APRIL 1, 2022
 MASHBURN, and JANICE JOHNSTON, in
 their official capacities as members of the
 STATE ELECTION BOARD; and STATE
 ELECTION BOARD,

       Defendants.


        AMENDED-FINAL CONSOLIDATED PRETRIAL ORDER

                                         1.

      There are no motions or other matters pending for consideration by the court
except as noted:

By Plaintiffs: In connection with Plaintiffs' addition of three may-call witnesses to
their Trial Witness List, Benjamin Ansa, Michael Adaba, and Rosa Hamalainen,
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Plaintiffs are filing a motion to disclose these three additional fact witnesses.
Plaintiffs reserve the right to file Motions in Limine on or before the February 25,
2022, deadline established by the Court’s the Court’s November 30, 2021, Order,
ECF 641. Plaintiffs also reserve the right to file motions for judicial notice as
appropriate in advance of trial.

By Defendants: Defendants reserve the right to file Motions in Limine prior to
trial. The Parties are also currently discussing the submission of short briefs
regarding evidentiary objections in conjunction with the proposed consolidated
submission of Plaintiffs’ designated deposition testimony, and objections thereto,
as addressed in paragraph 20.

                                           2.

       All discovery has been completed, unless otherwise noted, and the court will
not consider any further motions to compel discovery. Provided there is no
resulting delay in readiness for trial, the parties shall, however, be permitted to take
the depositions of any persons for the preservation of evidence and for use at trial.

By Plaintiffs: The parties are nearing completion of discovery related to post-2018
election events. Plaintiffs made a request for documents from Defendants that
arose from the February 9, 2022, deposition of Gabriel Sterling and are awaiting
that production. Plaintiffs reserve the right to seek additional discovery arising
from that outstanding production by Defendants. Plaintiffs also reserve the right to
pursue the deposition of Defendants’ may-call witness David Perdue.

       Concerning the three may-call witnesses added to Plaintiffs' Trial Witness
List, Benjamin Ansa, Michael Adaba, and Rosa Hamalainen, Plaintiffs will
coordinate for the depositions of these three witness should the Court allow their
addition and Defendants request to depose them.

By Defendants: Pretrial discovery is largely completed in this case but small
portions remain:

     By agreement, the reconvened deposition of Plaintiff’s expert, Dr.
      Adrienne Jones is taking place the same day as the filing of this amended
      pretrial order. Defendants reserve the right to seek relief from this Court


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       and/or amend this pretrial order as necessary with respect to this
       deposition.

     On February 15, 2022, Plaintiffs made informal requests to Defendants for
      additional documents pertaining to the February 9, 2022 deposition of
      Gabriel Sterling. Defendants will respond to Plaintiffs’ informal requests
      in due course.

     Defendants have indicated to Plaintiffs that they will not object to
      Plaintiffs taking the deposition of Senator David Perdue prior to trial,
      provided such is completed sufficiently in advance, should Plaintiffs
      choose to do so.


      In light of the outstanding discovery in this case, Defendants specifically
reserve all rights to object, move, or otherwise seek relief from the Court as may
be necessary before trial.

                                         3.

       Unless otherwise noted, the names of the parties as shown in the caption to
this Order and the capacity in which they appear are correct and complete, and
there is no question by any party as to the misjoinder or non-joinder of any party.

Plaintiffs’ Statements: Since the filing of the parties’ Consolidated Pretrial Order
on December 15, 2021, Janice Johnston replaced Anh Le and Edward Lindsey
replaced Rebecca Sullivan on the State Election Board. Dr. Johnston and Mr.
Lindsey are now parties pursuant to Fed R Civ P 25(d) and the case caption is
updated to reflect these changes.

Defendants’ Statements: The Parties are properly named in the caption of this
Order. To the extent that Plaintiffs continue to seek any equitable or injunctive
relief regarding the action(s) of counties, Defendants maintain that such must be
joined in this action.




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                                          4.

       Unless otherwise noted, there is no question as to the jurisdiction of the
court; jurisdiction is based upon the following code sections.

Plaintiffs’ Statement:

      There is no question about the Court’s jurisdiction, which is based on the
following statutes:

Count I: 28 U.S.C. § 1331, 42 U.S.C. § 1983, 42 U.S.C. § 1988(a), 28 U.S.C. §
2201, 28 U.S.C. § 2202.

Count II: 28 U.S.C. § 1331, 42 U.S.C. § 1983, 42 U.S.C. § 1988(a), 28 U.S.C. §
2201, 28 U.S.C. § 2202.

Count III: 28 U.S.C. § 1331, 42 U.S.C. § 1983, 42 U.S.C. § 1988(a), 28 U.S.C. §
2201, 28 U S C § 2202.

Count V: 52 U.S.C. § 10301, 28 U.S.C. § 2201, 28 U.S.C. § 2202.

Defendants’ Statement:

       Plaintiffs’ claims are brought under the following amendments to the United
States Constitution and the Voting Rights Act of 1965. Defendants state that the
Court lacks jurisdiction over Plaintiffs’ claims, in whole or in part, because of
mootness and/or because Plaintiffs lack standing to bring the claims that remain at
issue after summary judgment. Defendants plan to raise these issues at trial.

    Count I – Fundamental Right to Vote under the First and Fourteenth
     Amendments of the U.S. Constitution.

    Count II – Ban on Racial Discrimination in Voting under the Fifteenth
     Amendment of the U.S. Constitution.

    Count III – Equal Protection under the Fourteenth Amendment of the U.S.
     Constitution.


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    Count V – Section 2 of the Voting Rights Act of 1965, 52 U.S.C. § 10301.

                                       5.

      The following individually named attorneys are hereby designated as lead
counsel for the parties:

Plaintiffs:

Allegra J. Lawrence
Georgia Bar No. 439797
LAWRENCE & BUNDY LLC
1180 West Peachtree Street
Suite 1650
Atlanta, GA 30309
Telephone: (404) 400-3350
Fax: (404) 609-2504
Email: allegra.lawrence-hardy@lawrencebundy.com

Defendants:

Josh Belinfante
Georgia Bar No. 047399
jbelinfante@robbinsfirm.com
Vincent Russo
Georgia Bar No. 242628
vrusso@robbinsfirm.com
Robbins Alloy Belinfante Littlefield LLC
500 14th Street NW
Atlanta, GA 30318
Telephone: (678) 701-9381
Facsimile: (404) 856-3250

Bryan P. Tyson
Georgia Bar No. 515411
btyson@taylorenglish.com


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Taylor English Duma LLP
1600 Parkwood Circle
Suite 200
Atlanta, GA 30339
Telephone: 678-336-7249

                                            6.

      Normally, the plaintiff is entitled to open and close arguments to the jury.
(Refer to LR39.3(B)(2)(b)). State below the reasons, if any, why the plaintiff
should not be permitted to open arguments to the jury.

Plaintiffs’ and Defendants’ Statement: This case will not be tried before a jury.
Plaintiffs request the opportunity to present opening and closing arguments to the
court.

                                            7.

      The captioned case shall be tried (_____) to a jury or (__X___) to the court
without a jury, or (_____) the right to trial by jury is disputed.

                                            8.

       State whether the parties request that the trial to a jury be bifurcated, i.e. that
the same jury consider separately issues such as liability and damages. State briefly
the reasons why trial should or should not be bifurcated.

Plaintiffs’ and Defendants’ Statement: This case will be tried to the court.

                                            9.

       Because this case will be tried to the court, the parties do not request any
voir dire questions.
                                           10.

       Because this case will be tried to the court, the parties do not request any
voir dire questions.


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                                          11.

       Because this case will be tried to the court, the parties do not request any
voir dire questions.

                                          12.

       Because this case will be tried to the court, the parties are not requesting any
strikes.

                                          13.

      State whether there is any pending related litigation. Describe briefly,
including style and civil action number.

Plaintiffs’ and Defendants’ Statement: This case is not related to any other
pending matter.

                                          14.

       Attached hereto as Attachment “C” is plaintiffs’ outline of the case which
includes a succinct factual summary of plaintiffs’ cause of action and which shall
be neither argumentative nor recite evidence. All relevant rules, regulations,
statutes, ordinances, and illustrative case law creating a specific legal duty relied
upon by plaintiffs shall be listed under a separate heading. In negligence cases,
each and every act of negligence relied upon shall be separately listed. For each
item of damage claimed, plaintiffs shall separately provide the following
information: (a) a brief description of the item claimed, for example, pain and
suffering; (b) the dollar amount claimed; and (c) a citation to the law, rule,
regulation, or any decision authorizing a recovery for that particular item of
damage. Items of damage not identified in this manner shall not be recoverable.

                                          15.

       Attached hereto as Attachment “D” is defendants’ outline of the case which
includes a succinct factual summary of all general, special, and affirmative
defenses relied upon and which shall be neither argumentative nor recite evidence.
All relevant rules, regulations, statutes, ordinances, and illustrative case law relied

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    Count I: Whether the Defendants’ Secretary of State or the State Election
     Board members’ failures to ensure or obtain uniform and proper practices
     for absentee ballot cancellations at the polls violate the fundamental right to
     vote guaranteed by the First and Fourteenth Amendments?

    Count II: Whether the Exact Match policy or its application violates the ban
     on racial discrimination in voting guaranteed by the Fifteenth Amendment?

    Count III: Whether the Exact Match policy or its application violates the
     right to vote on an equal basis regardless of race or color as guaranteed by
     the Equal Protection Clause of the Fourteenth Amendment?

    Count III: Whether the Exact Match policy or its application violates the
     right of naturalized citizens to vote on an equal basis as native-born citizens
     as guaranteed by the Equal Protection Clause of the Fourteenth
     Amendment?

    Count III: Whether the lack of statewide uniformity in the application of the
     Exact Match policy violates the Equal Protection Clause of the Fourteenth
     Amendment?

    Count III: Whether the lack of statewide uniformity in the treatment of
     absentee ballot cancellations violates the Equal Protection Clause of the
     Fourteenth Amendment?

    Count V: Whether the Exact Match policy or its application violates Section
     2 of the Voting Rights Act?

By Defendants:

The legal issues to be tried are as follows:

   1. Whether Plaintiffs have suffered any particularized injuries so as to confer
      standing to bring their claims against Defendants, and if so, whether those
      particularized injuries are traceable to and redressable by the Defendants.

   2. Whether Plaintiffs’ allegations constitute generalized grievances regarding


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      election administration and not actionable burden(s) on the right to vote.

   3. Whether Plaintiffs’ allegation that Defendants do not maintain accurate
      voter rolls identifies an act or policy of the State that imposes systemic or
      otherwise widespread burden(s), or burdens that are of a material character
      and magnitude on Georgians’ right to vote as established by the First and
      Fourteenth Amendments to the Constitution of the United States.

   4. Whether the State has a sufficiently important interest in its current
      method(s) of maintaining voter lists to overcome any purported burdens
      imposed on Georgia voters due to purported inaccurate data.

   5. Whether Plaintiffs’ allegation that Defendants fail to train local election
      superintendents regarding absentee ballot cancellations constitutes an act or
      policy of the state that imposes systemic or otherwise widespread
      burden(s), or burdens that are of a material character and magnitude on
      Georgians’ right to vote as established by the First and Fourteenth
      Amendments to the Constitution of the United States.

   6. Whether the State has a sufficiently important interest in its current training
      model(s) to overcome any purported burdens imposed on Georgia voters
      due to training on addressing the situation where a voter requests an
      absentee ballot but appears to vote in person (either early or on Election
      Day).

   7. Whether the State of Georgia has violated the First, Fourteenth, and/or
      Fifteenth Amendments of the United States Constitution, and or Section 2
      of the Voting Rights Act of 1965, by virtue of its implementation of
      verification procedures required by the Help America Vote Act (“HAVA”).

                                         18.

       Attached hereto as Attachment “F-1” for the plaintiffs and Attachment “F-2”
for the defendants is a list of all the witnesses and their addresses for each party.
The list must designate the witnesses whom the party will have present at trial and
those witnesses whom the party may have present at trial. Expert (any witness who
might express an opinion under Rule 702), impeachment, and rebuttal witnesses
whose use as a witness can be reasonably anticipated must be included. Each party

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shall also attach to the list a reasonable specific summary of the expected
testimony of each expert witness.

       All of the other parties may rely upon a representation by a designated party
that a witness will be present unless notice to the contrary is given fourteen (14)
days prior to trial to allow the other party(s) to subpoena the witness or to obtain
the witness’ testimony by other means.

       Witnesses who are not included on the witness list (including expert,
impeachment and rebuttal witnesses whose use should have been reasonably
anticipated) will not be permitted to testify, unless expressly authorized by court
order based upon a showing that the failure to comply was justified.

By Plaintiffs: Plaintiffs look forward to exploring with the Court and Defendants
ways to streamline the presentation of voter evidence.

By Defendants: Defendants similarly agree and look forward to exploring with the
Court and Plaintiffs how the presentation of evidence may be streamlined at trial.

                                         19.

        Attached hereto as Attachment “G-1" for the plaintiffs and Attachment “G-
2" for the defendants are the typed lists of all documentary and physical evidence
that will be tendered at trial. Learned treatises which are expected to be used at
trial shall not be admitted as exhibits. Counsel are required, however, to identify all
such treatises under a separate heading on the party’s exhibit list.

       Each party’s exhibits shall be numbered serially, beginning with 1, and
without the inclusion of any alphabetical or numerical subparts. Adequate space
must be left on the left margin of each party’s exhibit list for court stamping
purposes. A courtesy copy of each party’s list must be submitted for use by the
judge.

       Prior to trial, counsel shall mark the exhibits as numbered on the attached
lists by affixing numbered yellow stickers to plaintiff’s exhibits, numbered blue
stickers to defendant’s exhibits, and numbered white stickers to joint exhibits.
When there are multiple plaintiffs or defendants, the surname of the particular


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plaintiff or defendant shall be shown above the number on the stickers for that
party’s exhibits.

       Specific objections to another party’s exhibits must be typed on a separate
page and must be attached to the exhibit list of the party against whom the
objections are raised. Objections as to authenticity, privilege, competency, and, to
the extent possible, relevancy of the exhibits shall be included. Any listed
document to which an objection is not raised shall be deemed to have been
stipulated as to authenticity by the parties and shall be admitted at trial without
further proof of authenticity.

      Unless otherwise noted, copies rather than originals of documentary
evidence may be used at trial. Documentary or physical exhibits may not be
submitted by counsel after filing of the pretrial order, except upon consent of all
the parties or permission of the court. Exhibits so admitted must be numbered,
inspected by counsel, and marked with stickers prior to trial.

      Counsel shall familiarize themselves with all exhibits (and the numbering
thereof) prior to trial. Counsel will not be afforded time during trial to examine
exhibits that are or should have been listed.

By Plaintiffs: Plaintiffs identify and exchanged with Defendants Plaintiffs’ Exhibit
Nos. 2000 – 2005 on February 18, 2022. Plaintiffs do not object to Defendants
submitting objections to these additional exhibits, if necessary, by amendment after
the submission of this Amended Pretrial Order. Also on February 18, 2022,
Defendants identified and exchanged with Plaintiffs Defendants’ Exhibit Nos. 334
- 711. Plaintiffs reserve the right to assert objections to Defendants' Exhibit Nos.
334 – 711 by subsequent amendment to this Amended Pretrial Order. Plaintiffs
further reserve the right to supplement or amend their exhibit list as necessary in
light of the outstanding discovery in this case and upon reasonable notice to
Defendants.

By Defendants: Defendants provided an amended exhibit list to Plaintiffs on
February 18, 2022, along with a sharefile link containing the additional exhibits
identified. Defendants do not object to Plaintiffs submitting objections to these
additional exhibits, if necessary, by amendment after the entry of this pretrial
order. Defendants further reserve the right to supplement or amend their exhibit
list as necessary in light of the outstanding discovery in this case.

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                                          20.

      The following designated portions of the testimony of the persons listed
below may be introduced by deposition:

By Plaintiffs: Due to the length of Plaintiffs’ designations, Plaintiffs have attached
hereto as Attachment “I” the designated portions of testimony that may be
introduced by deposition. The parties continue to confer on a proposal to
streamline their presentation to the Court concerning objections to designated
portions of testimony to be introduced by deposition.

By Defendants: The Parties are currently discussing a proposed consolidated
submission of deposition testimony and objections thereto for Plaintiffs’
designated witnesses.

Any objections to the depositions of the foregoing persons or to any questions or
answers in the depositions shall be filed in writing no later than the day the case is
first scheduled for trial. Objections not perfected in this manner will be deemed
waived or abandoned. All depositions shall be reviewed by counsel and all
extraneous and unnecessary matter, including non-essential colloquy of counsel,
shall be deleted. Depositions, whether preserved by stenographic means or
videotape, shall not go out with the jury.

                                          21.

      Attached hereto as Attachment “H-2" for the defendants are any trial briefs
which counsel may wish to file containing citations to legal authority concerning
evidentiary questions and any other legal issues which counsel anticipate will arise
during the trial of the case.

By Plaintiffs: Plaintiffs are not submitting a trial brief at this time because they
believe the Court is well-familiar with the issues in this extensively briefed case.
Plaintiffs reserve the right to submit briefing on issues that may arise as the Parties
approach and conduct the trial of this case.

By Defendants: Defendants reserve the right to supplement or amend their trial
brief as necessary in light of the outstanding discovery in this case.

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                                         22.

     Because this case will not be tried to a jury, the parties do not intend to
submit requests for charge.
                                        23.

      Because this case will not be tried to a jury, the parties are not proposing a
special verdict form.

                                         24.

       Unless otherwise authorized by the court, arguments in all jury cases shall be
limited to one-half hour for each side. Should any party desire any additional time
for argument, the request should be noted (and explained) herein.

Plaintiffs’ Statements: Given the complexity of the issues involved in this case,
Plaintiffs request that opening and closing arguments be limited to one hour for
each side.

Defendants’ Statements: Defendants agree that the complexity of the issues
involved in this case, combined with the novel legal theories at issue, warrant
extending the typical time for opening and closing argument from thirty (30)
minutes per side to sixty (60) minutes per side.

                                         25.

       If the case is designated for trial to the court without a jury, counsel are
directed to submit proposed finding of fact and conclusions of law no later than
five (5) days after the completion of trial.

                                         26.

       Pursuant to LR 16.3, lead counsel and persons possessing settlement
authority to bind the parties met in person on _________________________,
20_____, to discuss in good faith the possibility of settlement of this case. The
court (_____) has or (_____) has not discussed settlement of this case with
counsel. It appears at this time that there is:

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Each of the undersigned counsel for the parties hereby consents to entry of the
foregoing pretrial order, which has been prepared in accordance with the form
pretrial order adopted by this court.

/s/ Allegra J. Lawrence                      /s/ Josh Belinfante
Counsel for Plaintiff                        Counsel for Defendant




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